                  Case 4:18-cv-06810-JST Document 189 Filed 07/25/23 Page 1 of 3




     BRIAN M. BOYNTON
 1
     Principal Deputy Assistant Attorney General
 2   WILLIAM C. PEACHEY
     Director
 3   EREZ REUVENI
     Assistant Director
 4
     Office of Immigration Litigation
 5   U.S. Department of Justice, Civil Division
     P.O. Box 868, Ben Franklin Station
 6   Washington, DC 20044
 7   Tel: (202) 307-4293
     Email: Erez.R.Reuveni@usdoj.gov
 8   PATRICK GLEN
     CHRISTINA P. GREER
 9   Senior Litigation Counsel
10
11                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                        OAKLAND DIVISION
13
14                                                    No. 4:18-cv-06810-JST
      East Bay Sanctuary Covenant, et al.,
15                                                    NOTICE OF APPEAL
                                 Plaintiffs,
16
                 v.
17
18    Joseph R. Biden, et al.,

19                               Defendants.
20
21
22
23
24
25
26
27
28



     NOTICE OF APPEAL
     East Bay v. Biden, Case No. 4:18-cv-06810-JST,
                 Case 4:18-cv-06810-JST Document 189 Filed 07/25/23 Page 2 of 3




 1             Defendants hereby appeal from the Court’s Order and Judgment entered July 25, 2023
 2   (ECF Nos. 187-88), in the above-captioned case to the United States Court of Appeals for the
 3   Ninth Circuit.
 4
                                                        Respectfully submitted,
 5
 6                                                      BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General
 7
                                                        WILLIAM C. PEACHEY
 8
                                                        Director
 9
                                                     By: /s/ Erez Reuveni
10                                                      EREZ REUVENI
11                                                      Assistant Director
                                                        Office of Immigration Litigation
12                                                      U.S. Department of Justice, Civil Division
                                                        P.O. Box 868, Ben Franklin Station
13                                                      Washington, DC 20044
14                                                      Tel: (202) 307-4293
                                                        Email: Erez.R.Reuveni@usdoj.gov
15
                                                        PATRICK GLEN
16                                                      CHRISTINA P. GREER
17                                                      Senior Litigation Counsel

18   Dated: July 25, 2023                               Attorneys for Defendants
19
20
21
22
23
24
25
26
27
28



     NOTICE OF APPEAL
     East Bay v. Biden, Case No. 4:18-cv-06810-JST         1
                 Case 4:18-cv-06810-JST Document 189 Filed 07/25/23 Page 3 of 3




 1                                               CERTIFICATE OF SERVICE
 2             I hereby certify that on July 25, 2023, I electronically filed the foregoing document with
 3   the Clerk of the Court for the United States Court of for the Northern District of California by
 4   using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be
 5   accomplished by the CM/ECF system.
 6
                                                     By: /s/ Erez Reuveni
 7
                                                         EREZ REUVENI
 8                                                       Assistant Director
                                                         United States Department of Justice
 9                                                       Civil Division
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     NOTICE OF APPEAL
     East Bay v. Biden, Case No. 4:18-cv-06810-JST                 2
